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                              No. 20-_____



                                  IN THE
  United States Court of Appeals for the Federal Circuit
                             ________________

 IN RE CINEMARK HOLDINGS, INC., AMC ENTERTAINMENT HOLDINGS, INC.,
                 AND REGAL ENTERTAINMENT GROUP,
                                   Petitioners.
                             ________________
                  On Petition For a Writ of Mandamus to the
        United States District Court for the Eastern District of Texas in
 Case Nos. 2:19-CV-00266-JRG, 2:19-CV-00265-JRG, and 2:19-CV-00267-JRG
                            Judge Rodney Gilstrap
                             ________________
    NON-CONFIDENTIAL PETITION FOR A WRIT OF MANDAMUS
                             ________________




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                          CERTIFICATE OF INTEREST

       Case No. _______.

       In re Cinemark Holdings, Inc., AMC Entertainment Holdings, Inc., and
       Regal Entertainment Group

       Filing Parties/Entities: Cinemark Holdings, Inc., AMC Entertainment
       Holdings, Inc., and Regal Entertainment Group



     I certify the following information and any attached sheets are accurate and
complete to the best of my knowledge.

       Date: October 21, 2020 Signature:         /s/ Jonathan S. Franklin

                                   Name:         Jonathan S. Franklin



        1. Represented Entities (Fed. Cir. R. 47.4(a)(1)) – Provide the full names
of all entities represented by undersigned counsel in this case.

       Cinemark Holdings, Inc.

       AMC Entertainment Holdings, Inc.

       Regal Entertainment Group

        2. Real Party in Interest (Fed. Cir. R. 47.4(a)(2)) – Provide the full names
of all real parties in interest for the entities. Do not list the real parties if they are
the same as the entities.

       None.

      3. Parent Corporations and Stockholders (Fed. Cir. R. 47.4(a)(3)) –
Provide the full names of all parent corporations for the entities and all publicly
held companies that own 10% or more stock in the entities.

       Cinemark Holdings, Inc.: None.


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      AMC Entertainment Holdings, Inc.: Wanda America Entertainment, Inc.;
      Dalian Wanda Group Co., Ltd.
      Regal Entertainment Group: Cineworld Group plc

      4. Legal Representatives (Fed. Cir. R. 47.4(a)(4)) – List all law firms,
partners, and associates that (a) appeared for the entities in the originating court or
agency or (b) are expected to appear in this court for the entities. Do not include
those who have already entered an appearance in this court.

      Norton Rose Fulbright US LLP: Brandy S. Nolan, Catherine J. Garza, Eric
      C. Green, Eric B. Hall, Erik O. Janitens, James S. Renard, Michael A.
      Swartzendruber, Stephanie N. DeBrow, and Darren Smith

      Gillian & Smith, LLP: Melissa R. Smith

      5. Related Cases (Fed. Cir. R. 47.4(a)(5); see also Fed. Cir. R. 47.5(b)) –
Provide the case titles and numbers of any case known to be pending in this court
or any other court or agency that will directly affect or be directly affected by this
court’s decision in the pending appeal. Do not include the originating case
number(s) for this case.

      Dolby Labs., Inc. v. Intertrust Techs. Corp., No. 3:19-CV-03371-EMC
      (N.D. Cal.); Dolby Labs., Inc. v. Intertrust Techs. Corp., No. IPR2020-
      00660 (P.T.A.B.); Dolby Labs., Inc. v. Intertrust Techs. Corp., No.
      IPR2020-00661 (P.T.A.B.); Dolby Labs., Inc. v. Intertrust Techs. Corp., No.
      IPR2020-00662 (P.T.A.B.); Dolby Labs., Inc. v. Intertrust Techs. Corp., No.
      IPR2020-00663 (P.T.A.B.); Dolby Labs., Inc. v. Intertrust Techs. Corp., No.
      IPR2020-00664 (P.T.A.B.); Dolby Labs., Inc. v. Intertrust Techs. Corp., No.
      IPR2020-00665 (P.T.A.B.); Dolby Labs., Inc. v. Intertrust Techs. Corp., No.
      IPR2020-01123 (P.T.A.B.); Dolby Labs., Inc. v. Intertrust Techs. Corp., No.
      IPR2020-01209 (P.T.A.B.); Dolby Labs., Inc. v. Intertrust Techs. Corp., No.
      IPR2020-01273 (P.T.A.B.)

      6. Organizational Victims and Bankruptcy (Fed. Cir. R. 47.4(a)(6)) –
Provide any information required under Fed. R. App. P. 26.1(b) (organizational
victims in criminal cases) and 26.1(c) (bankruptcy case debtors and trustees).

      None.




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     This document redacts highly confidential industry information, subject to a
      protective order, regarding the supply of equipment to Petitioners. See pp. 7,
     15. This document additionally redacts all quotations from the district court’s
      Order, which remains fully sealed at the time this petition is being filed. See
                         pp. 2, 3, 9, 10, 12, 13, 21-23, 26, 28-32.

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                                 INTRODUCTION

      Defendants/Petitioners (“Petitioners”) Cinemark Holdings, Inc.,

(“Cinemark”), AMC Entertainment Holdings, Inc. (“AMC”), and Regal

Entertainment Group (“Regal”) respectfully petition this Court for a writ of

mandamus directing the district court (the Hon. Rodney Gilstrap of the Eastern

District of Texas (“EDTex”)) to transfer these consolidated cases to the Northern

District of California (“NDCal”) pursuant to 28 U.S.C. § 1404(a). The district

court’s order denying transfer contravenes this Court’s clear precedents in order to

retain venue over a patent infringement action that does not belong in Texas.

      Plaintiff/Respondent Intertrust Technologies Corp. (“Intertrust”) filed this

case nearly two months after a supplier of equipment to Petitioners filed a

declaratory judgement action involving the same patents in NDCal, where both

Intertrust and the vast majority of potential witnesses are located. In that earlier-

filed case, Intertrust has asserted exactly the same allegations of infringement

regarding use of the same equipment that Intertrust asserts here. It is axiomatic

that “the existence of multiple lawsuits involving the same issues is a paramount

consideration when determining whether a transfer is in the interest of justice”

because “to permit a situation in which two cases involving precisely the same

issues are simultaneously pending in different District Courts leads to the

wastefulness of time, energy and money that § 1404(a) was designed to prevent.”



                                            1
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In re Volkswagen of Am., Inc., 566 F.3d 1349, 1351 (Fed. Cir. 2009)

(“Volkswagen I”) (citation and alteration omitted). Thus, “the forum of the first-

filed case is favored, unless considerations of judicial and litigant economy, and

the just and effective disposition of disputes, require otherwise.” Genentech, Inc.

v. Eli Lilly & Co., 998 F.2d 931, 937 (Fed. Cir. 1993), overruled in part on other

grounds, Wilton v. Seven Falls Co., 515 U.S. 277 (1995).

      Mandamus is warranted because the district court disregarded this well-

established law. The first-filed action involves Intertrust’s infringement

allegations against the supplier of the vast majority of products allegedly used by

Petitioners to directly infringe, while this case involves alleged direct infringement

by Petitioners and purportedly additional issues as to other suppliers. Yet the

district court denied transfer because “SEALED ORDER

                         ” between the two cases and Petitioners’ “SEALED
                                                                   ORDER
                                                                         -
                                                ” with the allegations in the first-filed

suit. Memorandum Opinion and Order (“Order”) at 17, Appendix A hereto (Dkt.

143) (emphasis added).1 But that holding conflicts with this Court’s clear

precedent that the first-to-file rule does not require that the two cases “involve

precisely the same issues;” rather, “significant overlap and a familiarity with the


1      “Dkt.” refers to the district court docket number in this case. Page numbers
refer to the numbers in the docket header unless otherwise indicated.


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patents” at issue favors trying cases involving the same patents in the single court

where the first-filed action is pending. Volkswagen I, 566 F.3d at 1351.

      That standard is unquestionably satisfied here, where in both cases Intertrust

accuses use of the same products and the same customers of infringing the same

patents in the same way. Given the district court’s error of law on this point, it is

clear and indisputable that transfer is warranted. As the district court itself

recognized, “SEALED ORDER



                                            .” Order at 15 (quoting Commc’ns Test

Design, Inc. v. Contec, LLC, 952 F.3d 1356, 1362 (Fed. Cir. 2020)). There is no

doubt that the transfer factors in this case—which should have required transfer

under any circumstances—cannot overcome the first-to-file rule.

      The district court’s clear error of law requires this Court’s intervention. If,

as the court held, the first-to-file rule can be overcome here, any patentee could do

what Intertrust has done—assert counterclaims in a first-filed action in its own

home district alleging that a supplier has induced or contributed to its customers’

direct infringement, and then make the identical contentions against those

customers in a later action in a forum of the patentee’s choosing having little

connection with the dispute. That approach would effectively transform Section

1404(a)’s convenience inquiry into a mere venue analysis. The Court should grant



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the writ, direct transfer to NDCal, and make clear that such duplicative and

wasteful forum shopping is impermissible as a matter of law.

                                 JURISDICTION

      Jurisdiction exists under the All Writs Act, 28 U.S.C. § 1651. In re

Nintendo of Am., Inc., 756 F.3d 1363 (Fed. Cir. 2014).

                                RELIEF SOUGHT

      Petitioners seek a writ of mandamus directing the district court to transfer

this case to NDCal under 28 U.S.C. § 1404(a).

                               ISSUE PRESENTED

      Where a first-filed action in a patentee’s home district involves claims of

infringement against a supplier and its customers, may a district court refuse to

transfer to that forum the patentee’s later-filed infringement action against those

same customers, where the action involves the same patents, products, conduct,

infringement allegations, and damages claims, and where the later-filed action is

brought in a forum having few connections to the dispute?

                                       FACTS

      A.     The First-Filed Action.

      This case involves digital cinema technology, which has largely replaced the

older reel-to-reel analog format. In 2002, major motion picture studios created

Digital Cinema Initiatives, LLC (“DCI”) to establish specifications for digital



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cinema. Dkt. 28-8. Dolby Laboratories, Inc. (“Dolby”) makes “DCI-compliant”

products under the Dolby and Doremi brands and sells them to Petitioners, who

operate theaters. On June 13, 2019, Dolby sued Intertrust in NDCal (the “Dolby

Action”), requesting a declaratory judgment of non-infringement and injunctive

relief with respect to eleven Intertrust patents (the “Asserted Patents”). See

generally Dkt. 28-2. In its complaint, as amended, Dolby asserts that Intertrust had

accused Dolby’s customers—specifically Petitioners AMC, Cinemark, and

Regal—of infringing the Asserted Patents. Dkt. 46-2, ¶ 26. Dolby sought, inter

alia, an injunction enjoining Intertrust from asserting infringement charges against

either Dolby or its customers. Id. at 15 (Prayer at B).

      Intertrust then filed counterclaims, alleging that Dolby infringes the Asserted

Patents by, inter alia, selling and using DCI-compliant “Image Media Blocks

(‘IMBs’),” which theaters use to provide content protection and digital rights

management for digital cinema. Dkt. 46-3, at 15 (Counterclaim ¶ 15). Intertrust

also alleged that Dolby induced and contributed to infringement by its theater

customers such as Petitioners because its DCI-compliant components, including

IMBs, “are not staple articles or commodities of commerce suitable for substantial

non-infringing use,” “are especially made or especially adapted for use in the

infringement,” “are a material part of the invention,” and have “no substantial non-




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infringing use.” Id. at 22, 25, 28-29, 32-33, 39-40, 42-43 (Counterclaims, ¶¶ 52,

65, 78, 91, 122, 135).

      Thus, to prevail in the Dolby Action on its indirect infringement claims,

Intertrust must prove that the use of Dolby and Doremi DCI-compliant products by

Dolby’s movie theater customers—i.e., Petitioners—infringes the Asserted Patents.

See, e.g., Epcon Gas Sys., Inc. v. Bauer Compressors, Inc., 279 F.3d 1022, 1033

(Fed. Cir. 2002) (“there can be no inducement of infringement without direct

infringement” and “[a] finding of contributory infringement likewise requires

underlying proof of direct infringement”).

      B.     The Present Actions.

      Even though its infringement allegations against both Dolby and its

customers were already being litigated in the Dolby Action, Intertrust went

shopping for what it perceived as a more favorable forum. On August 7, 2019—

nearly two months after Dolby Action was filed—Intertrust filed the present

actions against Petitioners in EDTex. See Dkt. 1. The three cases were assigned to

Chief Judge Gilstrap, who consolidated them for pretrial issues. Dkt. 8.

      The complaints are essentially carbon copies of Intertrust’s allegations in the

prior-filed Dolby Action. Intertrust alleged that each Petitioner infringes the same




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eleven patents that are at issue in the Dolby Action2 “through its use of DCI-

compliant equipment suites to show movies and other DCI-compliant content in

the movie theaters that it owns and operates.” See, e.g., Dkt. 1, at 4 (¶ 15). As in

the Dolby Action, Intertrust alleges that Petitioners’ use of DCI-compliant IMBs—

which Intertrust asserted in the prior action had no non-infringing uses—

necessarily infringe. See, e.g., Dkt. 28-11 (Intertrust relying on “media blocks”

comprising IMBs and other optional components to meet every element of the

Asserted Patents). As Intertrust has stated, in its view “Dolby and Doremi-branded

IMBs used by Defendants perform the limitations of Intertrust’s asserted patent

claims.” Dkt. 135, at 3.

      Dolby, moreover, supplies the overwhelming majority of the IMBs allegedly

used by Petitioners to infringe the Asserted Patents. The parties have stipulated

that when IMBs purchased by Sony—which is licensed by Intertrust—are

appropriately excluded, Dolby is the supplier for “%
                                                    •••   ,%   , and %    of the

IMBs that Cinemark, AMC, and Regal, respectively, use (as of February 2020) to

allegedly infringe Intertrust’s asserted patents.” Dkt. 133 at 5-63; see id. at 21-22.


                                                     •
And as of the filing of this case, Dolby IMBs accounted for %       of the non-Sony




2     Intertrust has since removed one patent from this case.
3     Page number citations to this document refer to the PDF file’s pagination.


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IMBs used by Regal. Id. at 6.4 So important are the Dolby IMBs to Intertrust’s

infringement allegations in this case that Intertrust sought scheduling relief so that

it could obtain and review “massive amounts” of discovery relating to the Dolby

IMBs used by Defendants. Id. at 5. Notably, however, Dolby had already

produced the same information to Intertrust in the Dolby Action. Id. at 6.

      C.     The Motion to Transfer.

      In November 2019, Petitioners filed a joint motion under 28 U.S.C. §

1404(a) to transfer these consolidated cases to NDCal given the first-filed Dolby

Action and the lack of any material connection between this dispute and EDTex.

That motion demonstrated, inter alia, that identical patents are in the two actions;

that the infringement claims substantially overlap and apply to identical conduct;

that Intertrust is headquartered in NDCal, where it filed previous patent cases; that

Dolby (which overwhelmingly supplies the products allegedly used to infringe) is

also headquartered there; that no relevant third-party witnesses are located solely in

Texas5 whereas numerous Dolby and other witnesses, including most of

Intertrust’s non-employee inventors, are located in California; that DCI (which is




4    The remaining IMBs used by Regal come from companies based in Belgium
and Hong Kong. Id. at 22, 70, 71.
5     One potentially relevant witness resides in Texas but has his principal place
of business in NDCal. Dkt. 46-10.


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mentioned over 75 times in each complaint) and its member-studios are all in

California; and that Petitioners, which operate theaters nationwide, are subject to

suit in NDCal. See generally Dkt. 28.

      Approximately ten months later, on September 30, 2020, the district court

issued the Order denying that motion. The court held that the first-to-file rule was

immaterial because “SEALED ORDER                                                         ”

and that “SEALED ORDER


-        ” Order at 17 (emphasis added). Yet as the district court noted earlier in

the same order, “SEALED ORDER



                                  ” Id. at 15 (internal quotations and citation

omitted; emphasis added).

      Having incorrectly discarded the first-to-file rule, the district court rejected

Defendants’ argument that NDCal was the more convenient forum, despite noting

the “SEALED ORDER


-     ” that “SEALED ORDER

                                 ” and that “SEALED ORDER

                                 ” who would come to Texas to testify. Id. at 10,

12. It held that on a transfer motion it “SEALED ORDER

                                                            ” id. at 3—here,



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Intertrust. Applying that standard, the court held that the fact that “SEALED ORDER

                                                    ” did not “SEALED ORDER


-       ” because some “SEALED ORDER                    ” available at Petitioners’

corporate headquarters is located in EDTex (for Cinemark) or is “SEALED ORDER

                             ” (for the other two defendants). Id. at 5, 7. Noting

that patent cases, on average, are tried faster in EDTex than NDCal and

“SEALED ORDER                                               ” the court found that factor

weighed against transfer. Id. at 14. But the court found that all other “SEALE


-
                                                                         D
                                                                              -ORDER
       ” factors (such as availability of witnesses, the interest in deciding localized

disputes at home, and familiarity with and avoiding conflicts of law) were either

neutral or weighed only slightly against transfer. Id. at 10, 12, 14.

                                LEGAL STANDARD

      Mandamus must issue if (1) the petitioner has a clear and indisputable right

to relief, (2) there are no other adequate means to attain that relief, and (3) the

Court is satisfied that issuing the writ is appropriate. Cheney v. U.S. Dist. Court

for D.C., 542 U.S. 367, 380-81 (2004); see also In re Hoffmann-La Roche Inc., 587

F.3d 1333, 1336 (Fed. Cir. 2009) (Mandamus may issue when the “facts and

circumstances underlying the district court’s application of the [controlling] factors

do not rationally support its decision.”). “In the transfer context, these

requirements coalesce into one.” In re HP Inc., --- Fed. App’x ----, 2020 WL



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5523561, at *2 (Fed. Cir. Sept. 15, 2020). Accordingly, mandamus should be

granted “to correct a patently erroneous denial of transfer.” In re Acer Am. Corp.,

626 F.3d 1252, 1254 (Fed. Cir. 2010). A refusal to transfer a case is patently

erroneous when a district court erroneously interprets the law or makes clearly

erroneous factual findings. In re EMC Corp., 677 F.3d 1351, 1355 (Fed. Cir.

2012); In re Hoffman-La Roche, 587 F.3d at 1336. This Court applies its own law

to transfers involving questions of simultaneous patent litigation, and relevant

circuit law to other transfer doctrines. Futurewei Techs., Inc. v. Acacia Rsch.

Corp., 737 F.3d 704, 708 (Fed. Cir. 2013); In re Apple, Inc., 581 F. App’x 886,

888 (Fed. Cir. 2014).

                REASONS WHY THE WRIT SHOULD ISSUE

I.    THE DISTRICT COURT CLEARLY AND INDISPUTABLY RELIED
      ON AN INCORRECT LEGAL STANDARD TO DISREGARD THE
      PUBLIC INTEREST IN AVOIDING DUPLICATIVE LITIGATION
      IN FAVOR OF A FIRST-FILED ACTION.

      Avoiding multiple, conflicting lawsuits is a “paramount consideration” in

assessing transfers under Section 1404(a). Volkswagen I, 566 F.3d at 1351.

Allowing simultaneous patent cases in “different District Courts leads to the

wastefulness of time, energy and money that § 1404(a) was designed to prevent.”

Id. (quoting Cont’l Grain Co. v. The Barge FBL-585, 364 U.S. 19, 26 (1960)).

      A first-filed declaratory judgment action thus should take precedence over a

later-filed infringement suit: “The general rule favors the forum of the first-filed


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action, whether or not it is a declaratory action.” Genentech, 998 F.2d at 937. The

rule exists to “avoid conflicting decisions and promote judicial efficiency.”

Futurewei Techs., Inc., 737 F.3d at 708 (quotation omitted). The first-to-file rule

comports with other legal doctrines, such as those requiring a defendant to plead

available counterclaims in the first action and prohibiting them from being raised

in separate actions. Genentech, 998 F.2d at 938. Accordingly, when a first-filed

declaratory action “can resolve the various legal relations in dispute and afford

relief from the controversy that gave rise to the proceeding, and absent sound

reason for a change of forum, a first-filed declaratory action is entitled to

precedence as against a later-filed patent infringement action.” Id.

      Critically here, the rule does not require that successive cases raise identical

issues or involve identical parties. Even when cases “may not involve precisely

the same issues,” “significant overlap and a familiarity with the patents” at issue

favors trying separate cases involving the same patents in a single court.

Volkswagen I, 566 F.3d at 1351; see also Futurewei Techs., 737 F.3d at 708 (first-

to-file rule applies when “two actions … sufficiently overlap”). Under this law,

the district court plainly erred in finding the first-to-file rule inapplicable and thus

refusing to transfer this case to NDCal. The court held that the Dolby Action

should not take precedence over this case because “SEALED ORDER

                                     ” since the “SEALED ORDER



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                                     ” Order at 17 (emphasis added). But this Court


                            -
does not require either an “SEALED
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                                      of parties or “SEALED ORDER               ” of

allegations for a first-filed manufacturer action to take precedence; all that is

required is that the manufacturer claim will likely resolve major issues that will

help resolve a separate claim against the manufacturer’s customers. Katz v. Lear

Siegler, Inc., 909 F.2d 1459, 1464 (Fed. Cir. 1990); Futurewei Techs., 737 F.3d at

708; see also Save Power Ltd. v. Syntek Fin. Corp., 121 F.3d 947, 950 (5th Cir.

1997) (first-to-file rule requires only “substantial overlap” on “substantive issues”).

      Under the correct legal standard, the first-filed rule unquestionably applies

here. This case is a virtual carbon copy of the first-filed Dolby Action as to

Petitioners’ use of the Dolby products at issue. Intertrust sued Petitioners in Texas

fifty-five days after Dolby sued Intertrust in California. See Dkt. 28 at 5; Dkt. 28-

2. Dolby’s first-filed case will resolve major issues raised in this case: that case

involves all patents asserted here against Petitioners; Dolby sought injunctive relief

preventing Intertrust from suing Dolby’s customers—and specifically identified

Petitioners—for infringing those patents; and Intertrust counterclaimed alleging

that Dolby’s DCI-compliant systems infringe its patents and have no substantial

non-infringing use. Dkt. 28-2, at 7 (¶¶ 24-25); Dkt. 46-2, at 8 (¶ 26); Dkt. 46-3, at

22, 25, 28-29, 32-33, 39-40, 42-43 (Counterclaims, ¶¶ 52, 65, 78, 91, 122, 135).



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Intertrust’s claims here all involve Petitioners’ use of Dolby cinema systems that

allegedly infringe the very patents—and even nine of the same exemplary claims—

at issue in the first-filed Dolby Action. Compare Dkt. 1, at 8, 10, 12-13, 15, 17-19,

21, 23, 27-28, 30-31 (¶¶ 38, 47, 58, 69, 80, 91, 100, 120, 131) with Dkt. 46-3, at

19, 21, 24, 27-28, 30-31, 34-35, 36-37, 38-39, 41-42 (Counterclaims ¶¶ 39, 48, 61,

74, 87, 100, 109, 118, 131). That this action also involves additional minority

suppliers and the Dolby Action involves additional customers does not negate the

substantial overlap of claims against Defendants’ use of Dolby equipment.

      The district court’s refusal to transfer this case is still more improper given

this Court’s preference for litigation of manufacturer claims over customer claims.

This Court has recognized a “customer suit” exception to the first-to-file rule,

under which “litigation against … the manufacturer of infringing goods takes

precedence over a suit by the patent owner against customers of the manufacturer.”

Katz, 909 F.2d at 1464. This exception is based not only “on the manufacturer’s

presumed greater interest in defending its actions against charges of patent

infringement” but also “to guard against possibility of abuse.” Kahn v. Gen.

Motors Corp., 889 F.2d 1078, 1081 (Fed. Cir. 1989). Accordingly, while the first-

to-file rule focuses primarily on efficient use of the courts’ resources, its customer-

suit exception allows even a later-filed case to proceed over an earlier-filed one

when the later case involves the manufacturer of the product at the heart of an



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infringement case and the manufacturer case has “the potential to resolve the

‘major issues’ concerning the claims against the customer.” Spread Spectrum

Screening LLC v. Eastman Kodak Co., 657 F.3d 1349, 1358 (Fed. Cir. 2011)

(quoting Katz, 909 F.2d at 1464); see also Katz, 909 F.2d at 1464 (“Although there

may be additional issues involving the defendants in [a customer] action, their

prosecution will be advanced if [the patentee] is successful on the major premises

being litigated in [the manufacturer action], and may well be mooted if [the

patentee] is unsuccessful.”).

      The district court’s refusal to apply the first-to-file rule in this case was thus

doubly improper. Not only was Dolby’s case filed before Intertrust’s, but Dolby,

as the manufacturer, is the proper defendant for Intertrust’s claims. That is because

those claims focus on IMBs—hardware that is paired with projecting equipment

and often integrated into it—that allegedly violate Intertrust’s patents. Dkt. 1, at 5-

7, 10, 15-16, 21-24, 31 (¶¶ 20-23, 28, 30, 48, 70, 92, 101, 132). But Petitioners do

not manufacture IMBs; they receive nearly all of their allegedly infringing IMBs

from Dolby, which has a substantial presence in California but not in Texas. See

Dkt. 28, at 8; Dkt. 28-12; see also Dkt. 133, at 5-6 & n.1 (parties jointly indicating


                    •
that Dolby supplies %      of Cinemark’s IMBs, %
                                                      •                     •
                                                              of AMC’s, and %

Regal’s non-Sony IMBs), Dkt. 118, at 3 (Sony IMBs are not at issue). Dolby’s
                                                                                    of



action seeking a judgment that its hardware, and its customers’ use of that



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hardware, does not infringe and that Intertrust’s patents are invalid would plainly

resolve “major issues” in this case by resolving Petitioners’ liability for virtually

all of Intertrust’s infringement claims. See Katz, 909 F.2d at 1464.

      Further, Intertrust counterclaimed in the Dolby Action, asserting both direct

infringement claims against Dolby and indirect infringement claims against

Dolby’s customers based on their use of Dolby’s DCI-compliant systems. Dkt. 46-

3, at 22, 25, 28, 32, 39, 42 (Counterclaims ¶¶ 51, 64, 77, 90, 121, 134). Those

customers include Petitioners themselves. Dkt. 46-2, at 8 (¶ 26). Accordingly, the

Dolby Action not only involves the same patents and the same hardware at issue

here, but Intertrust is actively attempting to prove in that case that Petitioners are

infringing the very patents at issue here. As noted supra at 13-15, Intertrust cannot

prove its claims in the Dolby action without also proving that Petitioners’ use of

Dolby’s IMBs infringe the Asserted Patents. Thus, even if Intertrust’s suit had

been filed first, Dolby’s would still take precedence. See Katz, 909 F.2d at 1464.

      The district court’s misapplication of the first-to-file rule is reason enough to

grant mandamus, because it is clear and indisputable that the first-filed Dolby

Action will resolve major issues in this case. But the court also clearly erred by

holding that this case is substantially different from the Dolby Action. Cf. Order at

16-17. In opposing transfer, Intertrust vaguely argued that its claims here could

involve other components of a projection system beyond just an IMB, including an



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“Outboard Media Block” and a handful of other elements. See Dkt. 45, at 8-9. But

Intertrust’s complaints mentions none of these other components while repeatedly

and specifically referring to IMBs. See generally Dkt. 1. Accordingly, there is no

indication that any other allegedly infringing product configurations are at issue in

this case, and Intertrust’s attempt to distinguish the infringement alleged here from

the infringement alleged in the Dolby Action was specious.6

      Moreover, none of the other components Intertrust identified actually avoid

reliance on IMBs like those supplied by Dolby. Rather, those other components

are either parts of an IMB or cannot function without one. See Dkt. 46, at 5-6.

Indeed, Intertrust’s own exhibits showed that an “Outboard Media Block” cannot

be used without an IMB. See Dkt. 45-14, at 3 (describing a “Multiple Media

Block” as comprising an “IMB and one or more Outboard Media Blocks”)

(emphasis added); Dkt. 45-14, at 5 (explaining that an Outboard Media Block can

only process specific, limited content types); see also, e.g., Dkt. 28-11, at 2, 8, 13

(describing “DCI-compliant” systems as including “one or more Media blocks



6      So too was Intertrust’s argument that it asserts method claims and not
apparatus claims, Dkt. 45, at 8 & n.7, both because the claimed methods are
performed by specialized equipment that Petitioners buy primarily from Dolby and
because the same method patents are at issue in the Dolby Action regarding that
very equipment. See Dkt. 28-2. The district court’s unexplained acceptance of
Intertrust’s argument, see Order at 13 n.4, was another example of that court’s
failure to follow this Court’s clear first-to-file precedents.


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(e.g., Image Media Block[], an[d] optionally one or more Outboard Media

Blocks)”). Intertrust has expressly stated that “Dolby and Doremi-branded IMBs

used by Defendants perform the limitations of Intertrust’s asserted patent claims.”

Dkt. 135, at 6. And it has confirmed that position by agreeing that a patent license

for an IMB could nullify all its infringement allegations here.7 Accordingly, even

if the other components Intertrust identified were relevant to Intertrust’s claims—

which Intertrust’s complaint nowhere alleges—this case would still be subservient

to Dolby’s first-filed, manufacturer action because that action will determine the

central issue of whether the underlying IMBs actually do infringe any valid patents

Intertrust may hold. See Katz, 909 F.2d at 1464.

      The district court also ignored that Dolby filed its action only after Intertrust

sent assertion letters to Dolby’s customers, including Petitioners. The California

court presiding over the Dolby Action recognized the relationship between the two

cases, and Dolby instituted its declaratory judgment action only after it learned that

Intertrust intended to assert its patents against Dolby’s customers. See Dkt. 28-2,

at 7 (¶ 24-25); Dkt. 28-3, at 3-4; see also Dkt. 46-2, at 8 (¶ 26) (Dolby’s amended



7     See Dkt. 46-7, at 6-7 (46:9-47:18) (Intertrust explaining that a license to
Dolby would likely extinguish its claims against Petitioners for any Dolby-sourced
equipment); Dkt. 118, at 2-3 (Intertrust stipulating that Sony’s IMBs are licensed
and therefore agreeing that Petitioners will not be liable for using Sony-sourced
equipment).


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complaint identifying Petitioners as recipients of Intertrust’s assertion letters). The

district court’s failure to acknowledge the direct connection between this case and

the manufacturer case already pending in a proper forum was patently wrong.

      Other aspects of this case show that it is duplicative of Dolby’s first-filed,

manufacturer case. Petitioners and Dolby have both asserted the same invalidity

defenses regarding the patents at issue. Compare Dolby’s Answer to

Counterclaims at 14, Dolby Labs., Inc. v. Intertrust Techs. Corp., No. 3:19-CV-

03371-EMC (N.D. Cal. Jan 8, 2020) (“Dolby Labs.”) (ECF No. 66) with, e.g., Dkt.

14, at 17 (Cinemark’s Answer). Proceeding in both cases simultaneously will

therefore not only duplicate efforts but could also produce conflicting judgments.

      Further, the damages models proposed by Intertrust in the two cases are not

only essentially the same but will in both cases turn on Petitioners’ use of DCI-

compliant equipment that is primarily sourced from Dolby. In both cases,

Intertrust seeks reasonable royalties for the use of DCI-compliant equipment. See

Dkt. 1, at 32 (Prayer at D); Dkt. 46-3, at 44 (Prayer at D). But Intertrust has

admitted that Petitioners’ use of DCI-compliant equipment in their theaters is

“where all the revenues are,” and that that consideration is largely what has




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prevented Intertrust from issuing any licenses to, or otherwise settling its case with,

Dolby. Dkt. 46-7, at 4-5 (44:22-45:25).8

      Indeed, Intertrust not only acknowledged the obvious connection between

this case and the manufacturer case, but affirmatively relied on the overlap of the

EDTex and NDCal cases to oppose institution of Dolby’s requests for inter partes

review of the Asserted Patents. For example, Intertrust argued that the Patent Trial

and Appeal Board should not institute an IPR because “duplication of the Board’s

effort is assured” such that “the Board’s work in connection with the Petition will

certainly be a wasteful use of system resources.” Patent Owner’s Preliminary

Response at 41-42, Dolby Labs., Inc. v. Intertrust Techs. Corp., No IPR2020-

00661, (P.T.A.B. filed July 17, 2020), Paper No. 6, available at

https://tinyurl.com/y3jp4e7x.9 Those obvious overlaps and waste of judicial

resources equally compel transfer to NDCal because, as Intertrust itself has stated,

the “claims against the Cinema customers in the Texas case are based, in part, on

their use of digital cinema systems comprising DCI-compliant equipment supplied

by [Dolby].” Id. at 40.




8     Thus, Intertrust will need the same documents to support its damages claims
against Dolby itself as it will need to support its damages claims in this case.
9     This document, along with others, was presented to the district court in a
supplemental filing while the transfer motion remained pending. See Dkt. 130.


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      Accordingly, even if geography alone somehow made it substantially more

convenient for Petitioners to litigate in EDTex than in NDCal—and as next shown,

it does not—that convenience is illusory because Petitioners must produce

substantial evidence in NDCal as a result of Intertrust’s counterclaims filed in that

court. By refusing to transfer this case, the district court saved nobody any

inconvenience; instead, respectfully, it violated this Court’s clear precedents and

duplicated burdens in service of Intertrust’s blatant attempt to forum shop.

Mandamus is therefore clearly warranted.

II.   UNDER A CORRECT LEGAL STANDARD, TRANSFER IS
      REQUIRED BECAUSE PRIVATE INTEREST FACTORS ALSO
      OVERWHELMINGLY SUPPORT TRANSFERRING THIS CASE TO
      THE NORTHERN DISTRICT OF CALIFORNIA.

      Absent the district court’s error of law in refusing to apply the first-filed

rule, it is clear and indisputable that transfer would be warranted under the facts of

this case. As the district court recognized, “SEALED ORDER



                                                                ” Order at 15 (quoting

Commc’ns Test Design, 952 F.3d at 1362). Given the first-to-file rule that the

district court improperly overrode, there is no doubt that the transfer factors do not

weigh against transfer. Indeed, even if the rule did not apply, it was a clear abuse

of discretion for the district court to deny transfer.




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      This case focuses on technology developed in California that uses source

code in California. Petitioners, only one of which is based in Texas, have been

accused of infringement for using equipment that allegedly complies with

specifications set by industry leaders in California and that was bought from

vendors with offices in California. Essentially all of the issues raised in this case

are already being litigated in California, where the heart of this movie-industry

case lies.10 It is indisputable that the transfer factors cannot overcome the first-

filed rule under the facts of this case. Nor did the district court make any finding

that they would, instead improperly finding the rule inapplicable. And any such

conclusion would be clearly erroneous whether or not the rule applies.

      Further, to the extent the errors noted above stemmed from the court’s

holding that it “SEALED ORDER

                                ” Order at 3, that, too, was clear legal error. This

standard is borrowed from motions to dismiss, but on a motion to transfer the court

is required to make “findings,” Van Dusen v. Barrack, 376 U.S. 612, 622 (1964),

based on “the individualized facts on record.” In re Microsoft Corp., 630 F.3d

1361, 1363 (Fed. Cir. 2011). Giving additional deference to every assertion made


10     As to other factors in the transfer analysis, as the district court recognized,
there is no dispute that (1) this case could have been filed in NDCal, (2) both
courts are reasonably familiar with the governing law, and (3) there are no
conflicts of law that are likely to arise. See Order at 4, 15.


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by the non-moving party “giv[es] inordinate weight to the plaintiff’s choice of

venue,” making transfer virtually impossible. See In re TS Tech USA Corp., 551

F.3d 1315, 1320 (Fed. Cir. 2008). Thus, a plaintiff’s evidence must be evaluated,

and not simply accepted on its face, to guard against plaintiff’s manipulation of

venue. See, e.g., In re Zimmer Holdings, Inc., 609 F.3d 1378, 1381 (Fed. Cir.

2010) (rejecting plaintiff’s “uncorroborated contentions”).

      A.     Key Evidence Is In California.

      The district court erred by finding that access to proof weighed against

transfer. This element focuses on where relevant documents are stored. In re

Genentech, Inc., 566 F.3d 1338, 1345 (Fed. Cir. 2009); In re Toa Techs., Inc., 543

F. App’x 1006, 1008-09 (Fed. Cir. 2013) (applying Fifth Circuit law). As with

other elements under Section 1404(a), a court should assess where the “greater

volume of documents relevant to the litigation” actually are, and should therefore

scrutinize parties’ contentions as to what evidence is likely to be relevant to the

proceeding. See, e.g., Fujitsu Ltd. v. Tellabs, Inc., 639 F. Supp. 2d 761, 767-67

(E.D. Tex. 2009) (discounting allegations that evidence in Texas would weigh

against transfer when that evidence was not clearly relevant).

      Here, the district court found that access to evidence weighed against



for the “SEALED ORDER
                                                                    -
transfer based solely on the view that a defendant’s documents “SEALED
                                                                ORDER
                                                                       ” account

                             ” in an infringement case. Order at 7 (quoting In re



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Genentech, 566 F.3d at 1345). But even if that general statement holds in some

cases, the court did not explain how it applies here, where alleged infringers simply

buy and use allegedly infringing technical equipment sourced from a manufacturer

that designed and produced it. In these circumstances, technical documentation

held by Dolby and Intertrust in California—not to mention DCI—is far more

important to this case than any documentation Petitioners may hold. Indeed, the

parties jointly moved to amend the Scheduling Order because of delays in produc-

ing “massive amounts” of critical information from California-based respondents.

See Dkt. 135, at 5, 13-14 (discussing “Massive Amounts of Important [Dolby]

Source Code,” a million documents from Sony, and 180,000 pages from DCI).

      This Court addressed a similar circumstance in In re Nintendo of America,

Inc., 756 F.3d 1363 (Fed. Cir. 2014), where it granted mandamus to order the

district court to sever and stay infringement claims against retailers and transfer

infringement claims against a manufacturer. There, the patentee had sued

Nintendo for producing allegedly-infringing hardware and also sued several

retailers that sold that hardware. Id. at 1364. This Court recognized that while that

circumstance “differ[ed] from” a standard customer suit, the manufacturer was

nonetheless the “true defendant.” Id. at 1365. Accordingly, proceeding against the

retailers as well as the manufacturer in a venue far from the manufacturer’s

headquarters—where the manufacturer’s documents “relating to finance, sales,



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licensing, contracts, advertising and product development” were located—was

neither efficient nor convenient. Id. at 1365-66. It did not matter that some

retailers were headquartered in Texas or that proceeding there might increase the

royalties the plaintiff could recover, since the action against the manufacturer in a

proper venue first could “advance[]” or “moot[]” any remaining infringement

claims against the retailers. Id. at 1366 (quoting Katz, 909 F.2d at 1464).

      So too here. Petitioners do not hold evidence central to the claims Intertrust

asserts. Those claims refer repeatedly to “DCI-compliant” systems and

specifically to “the IMB” contained in each. See, e.g., Dkt. 1, at 6-7, 10, 21-24, 31

(¶¶ 30, 48, 92, 101, 132). But Petitioners do not design or manufacture any such

equipment; they buy it from suppliers like Dolby that retain design schematics and

source code at their own offices. Dkt. 28-17, at 3 (¶ 7); Dkt. 28-18, at 3 (¶ 7); Dkt.

28-19, at 3 (¶ 7). As in Nintendo, therefore, the key evidence regarding

infringement is not in Petitioners’ offices, but in California. See 756 F.3d at 1365-

66. Indeed, the only specific evidence cited by Intertrust that is located in EDTex

consists of “configuration” and “damages-related evidence,” Dkt. 45, at 7,

involving Cinemark (the only Petitioner with a Texas headquarters). But as

already noted, Intertrust must procure that same evidence to support its claims in

the Dolby Action, since its infringement and damages theory in that case depends

on sales by Dolby to its customers, including Petitioners. See supra at 15-16. The



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district court’s unexplained and unsupported contrary conclusion that the location

of documents favors EDTex was clearly incorrect.

      B.     Key Witnesses Are Subject To Compulsory Process In California.

      The district court was equally wrong in finding that the availability of

compulsory process did not favor transfer. This factor focuses on the comparative

availability of the courts’ power to subpoena non-party witnesses. In re

Volkswagen of Am., Inc., 545 F.3d 304, 316 (5th Cir. 2008) (“Volkswagen II”).

This element is especially important “when more third-party witnesses reside

within the transferee venue” than the transferor venue. In re Apple, Inc., 581 F.

App’x at 889; see also In re HP Inc., 2020 WL 5523561, at *3 (compulsory-

process analysis need not be based on specific, identified witnesses if movant

identifies corporate sources located within the transferee jurisdiction).

      Here, Petitioners identified multiple non-party witnesses in NDCal:

inventors, other patent licensees sued there by Intertrust before, and Dolby’s own

personnel and documentary evidence. See Dkt. 28, at 14; Dkt. 28-8; Dkt. 28-12;

Dkt. 28-16; Dkt. 28-20; Dkt. 46, at 7-8; Dkt. 46-8; Dkt. 46-10. Yet even though

the district court recognized “SEALED ORDER

                                                                         D

its transfer analysis. Order at 10. This was clear error. The only non-party
                                                                            -
                                     ” it nonetheless found this factor “SEALE ” in
                                                                            ORDER



witness the court identified as being subject to process in Texas—Doug Darrow—



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is in fact a Dolby employee who maintains his primary work office in northern

California and would therefore also be subject to compulsory process in NDCal.

Dkt. 46, at 8; Dkt. 46-10; Dkt. 45-50, at 4; Dkt. 45-51.

      Further, even the few Texas witnesses that Intertrust claimed would provide

relevant testimony show that California witnesses are central to this case. Apart

from Darrow, Intertrust claimed that three other former employees of Texas

Instruments were “involved in the development of the DCI standard and the

theaters’ transition to digital cinema.” Dkt. 45, at 14 & n.9. But Intertrust itself

noted that at least two of those employees’ role was to act as “points of contact”

with the California-based movie studios that were pivotal in establishing the DCI

standards themselves. Id. Accordingly, even Intertrust’s reliance on these few

Texas witnesses tends to show that many more relevant witnesses are in California.

      More broadly, the district court’s analysis was fatally infected by the failure

to recognize that the core issues in this case are derivative of, and will be fully

litigated in, the Dolby Action. Witness testimony in this case that relates to the

“development of the DCI standard,” Dkt. 45, at 14 & n.9, is equally relevant to the

Dolby Action. Expecting those witnesses to travel to Texas to provide essentially

the same testimony they will already have to provide in California is just the kind

of duplication that the transfer statute exists to avoid. The district court therefore




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plainly and indisputably erred in finding that compulsory process over witnesses

was “SEALED ORDER ” Order at 10.11

      C.     Witness Convenience Favors California.

      For similar reasons, the district court’s analysis of witness convenience was

fatally flawed. The expense and inconvenience posed to third-party witnesses is

the “single most important factor in the transfer analysis.” In re Genentech, 566

F.3d at 1343 (quotation omitted). Courts should assess this factor by considering

whether, on balance, more non-party witnesses reside in the transferee forum than

in the transferor forum. See In re Nintendo Co., 589 F.3d 1194, 1198-99 (Fed. Cir.

2009) (granting mandamus in part because district court ignored that “most

witnesses” were “closer to the transferee venue”); In re Hoffman-La Roche, 587

F.3d at 1338 (granting mandamus in part because district court ignored that

transferee court was more convenient for more witnesses).

      Here, the district court found that Petitioners’ party witnesses would find

Texas more convenient based on the locations of their headquarters, that

Intertrust’s party witnesses would find Texas more convenient because they said


11     Indeed, the district court’s reasoning is internally inconsistent regarding
Dolby’s witnesses. To the extent the court agreed with Intertrust that these
witnesses are in “SEALED ORDER                          ” and thereby discounted any
need for compulsory process over them, that reasoning is inconsistent with the
court’s decision to treat the Dolby Action as though it were only tangentially
related. Compare Order at 9-10 with id. at 17.


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so, that Dolby’s witnesses were not shown to be “SEALED ORDER ,” and that other

patent licensees’ witnesses would not clearly be willing to testify or be necessary

to the proceeding. Order at 12 (emphasis in original). According to the district

court, then, the convenience of willing witnesses “SEALED ORDER

                                 ” Id.

      Respectfully, this analysis is riddled with errors and inconsistencies. The

court erred by counting Petitioners’ locations against them while ignoring

Intertrust’s own home in NDCal. Id. Even if the “SEALED ORDER

                      ” id. at 11, any such weight must be applied equally to both

sides of the scale, since the relative convenience of party witnesses generally “only

shift[s] the inconvenience from [one party to the other].” Frederick v. Advanced

Fin. Sols., Inc., 558 F. Supp. 2d 699, 704 (E.D. Tex. 2007). Accordingly, to the

extent the district court weighed Petitioners’ location differently from Intertrust’s,

that holding was, almost by definition, arbitrary.

      Worse, the district court’s refusal to treat Dolby’s witnesses as willing ones

makes no sense in light of its separate decision to discount NDCal’s compulsory

process over them. Compare Order, at 12 with id. at 10; see also supra at 28 &

n.11. Dolby witnesses—who will provide essential testimony about the

technology used in most of the projection systems underlying the infringement

claims in this case, supra at 13-16—are either willing to testify on Petitioners’



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                                        QUOTATIONS FROM THE DISTRICT
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behalf or they are not. But NDCal is a more convenient forum either way because

Dolby’s witnesses can be compelled to appear there or because they can willingly

travel there more easily than they can to EDTex. The district court’s decision to

simultaneously discount California’s convenience under both theories is incorrect.

      In fact, the court’s discussion of willing witnesses reveals that it viewed

transfer as inappropriate based almost entirely on Petitioners’ corporate

headquarters. The court characterized Intertrust as arguing that “SEALED ORDER



                                                                    ” to a more

convenient venue. Order at 12. Intertrust made no such contentions. Dkt. 45, at

14-15. But the district court’s statement is telling: at bottom, it held that

Petitioners should be forced to litigate these infringement claims in EDTex simply

because one of them is headquartered there and the other two are geographically

closer to Texas than to California. But that approach essentially reduces Section

1404(a) to a venue analysis, under which defendants cannot expect EDTex to

transfer any patent case to another venue so long as one defendant resides there,

even where, as here, the same patents involving the same technology are already

being litigated in a first-filed suit against the primary supplier of that technology in

a more convenient forum. For all the reasons stated above, that approach ignores

this Court’s well-established precedent and is therefore fundamentally incorrect.



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                                      QUOTATIONS FROM THE DISTRICT
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      D.     Practical Problems Favor California.

      Finally, the substantial overlap between this case and the Dolby Action

provides still more reason that this case should have been transferred to NDCal.

Although the Fifth Circuit has identified several factors that commonly apply to

transfer motions, those factors are not exhaustive. Volkswagen II, 545 F.3d at 315.

Further, this Court’s “paramount consideration” is avoiding duplication,

conflicting rulings, and waste. Volkswagen I, 566 F.3d at 1351.

      Even if the district court were right that the Dolby Action does not

technically qualify as a first-filed, manufacturer case, that action nonetheless

warranted transferring this action to NDCal. The Dolby Action involves the same

patents, the same infringement allegations—made against Petitioners themselves

through indirect infringement claims against Dolby—the same invalidity defenses,

and substantially overlapping evidence. See supra at 13-16. Accordingly, there

should be no question that transferring this case to NDCal would avoid all the

inconvenience and waste that Section 1404(a) is intended to avoid. The district

court’s conclusion that transfer is nonetheless inappropriate because a transferee

court would likely face delays “SEALED ORDER


-    ” Order at 14, is a purported problem purely of the court’s own making. The

only reason that time was invested in this case is because the court waited

approximately ten months to rule on the transfer motion. And in any event, the



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court hearing the Dolby Action will have little difficulty getting up to speed on this

case, which is essentially a duplicative action.

      As already explained, see supra at 11-21, the district court’s contrary,

conclusory finding was clearly wrong. The district court minimized the overlap

between this action and the Dolby Action and claimed that the two cases differ “   I
-
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ORDER
           ” but unspecified ways. Order at 13. To the extent the district court

accepted Intertrust’s claim that the Dolby Action involves “only a single

component manufactured by a single manufacturer,” Dkt. 45, at 15, it ignored not

only that Dolby is Petitioners’ primary supplier of those components but also that

Intertrust itself has argued that they have “no substantial non-infringing use.” See

Dkt. 46, at 5-6. Intertrust’s assertions in the Dolby Action make clear that its

infringement claims against Petitioners here rest centrally on whether components

bought from, and designed by, Dolby infringe Intertrust’s method patents when

used as intended. Indeed, that is the theory under which Intertrust has accused

Dolby of indirect infringement. Dkt. 46-3, at 22, 25, 28-29, 32-33, 39-40, 42-43

(Counterclaims ¶¶ 52, 65, 78, 91, 122, 135). Accordingly, the district court clearly

and indisputably erred by denying Petitioners’ motion to transfer this case under

Section 1404(a).




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III.   THIS COURT’S IMMEDIATE INTERVENTION IS WARRANTED.

       Mandamus is appropriate here. The district court’s refusal means that

Petitioners now face a trial in mere months, while trial in Dolby’s first-filed

manufacturer case—partly due to Intertrust’s own actions—has not yet been

scheduled. See Dkt. 142. During the months that Petitioners’ transfer motion was

pending the court below, Intertrust asked the Dolby Court not to start trial there

until December 2021. Jt. Status Report, at 6-7, Dolby Labs., (N.D. Cal. Aug. 20,

2020) (ECF No. 102). Accordingly, allowing this case to continue in Texas under

these circumstances would result in duplicative and inconvenient litigation, would

risk inconsistent rulings by different courts on the same issues, would undercut this

Court’s preference that patents be tried in first-filed manufacturer cases in the first

instance, and would endorse the very kind of forum shopping that this Court has

repeatedly sought to eradicate. That prejudice “cannot be put back in the bottle,”

In re Volkswagen II, 545 F.3d at 319, which is why “mandamus is deemed an

appropriate vehicle to correct patently erroneous transfer determinations.” In re

HP Inc., 2020 WL 5523561, at *2.




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                                   CONCLUSION

      For the foregoing reasons, the Court should grant mandamus, vacate the

order denying transfer, and order the district court to transfer this case to the

Northern District of California.

                                            Respectfully submitted,

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      Case No. _______.

      In re Cinemark Holdings, Inc., AMC Entertainment Holdings, Inc., and
      Regal Entertainment Group

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Dated: October 21, 2020                s/ Jonathan S. Franklin
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      Hon. Rodney Gilstrap
      United States District Court for the Eastern District of Texas
      Sam B. Hall, Jr. Federal Building and U.S. Courthouse
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      Marshall, TX 75670

      District Court Judge
                                       s/ Jonathan S. Franklin
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                APPENDIX A

               SEALED ORDER
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[ORDER, DKT. 143, PAGES 1-17;
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